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MEB W. ANDERSON (10227)
Assistant Utah Attorneys General
SEAN D. REYES (7969)
Utah Attorney General
160 East 300 South, Sixth Floor
P.O. Box 140856
Salt Lake City, Utah 84114-0856
Telephone: (801) 366-0100
Email: mebanderson@agutah.gov


                         IN THE UNITED STATES DISTRICT COURT
                    IN AND FOR THE STATE OF UTAH, CENTRAL DISTRICT


    JANET CRANE, as Administrator of the               REPLY IN SUPPORT OF THE STATE
    Estate of Brock Tucker.                               DEFENDANTS’ MOTION FOR
                                                        JUDGMENT ON THE PLEADINGS
                   Plaintiff,
                                                               Case No. 2:16-cv-1103-DN
    v.
                                                                   Judge David Nuffer
    UTAH DEPT. OF CORRECTIONS, et al.,

                   Defendants.


         The State Defendants hereby submit this Reply in Support of their Motion for Judgment

on the Pleadings.1 A party may move for judgment on the pleadings any time “[a]fter the

pleadings are closed--but early enough not to delay trial[.]” Fed. R. Civ. P. 12(c).

         To survive judgment on the pleadings, Plaintiff must allege “a claim to relief that is

plausible on its face.”2 To determine whether the claim to relief is “plausible on its face,” the

Court must examine the elements of the particular claim and review whether the plaintiff has


1
  Plaintiff has “capitulated” that Brent Platt, and Susan Burke, can be dismissed from this matter
with prejudice. (Docket No. 80, at page 23 of 34).
2
  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
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pleaded “factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.”3 Though the Court should construe factual

allegations as true, the Court should refuse to accept mere labels and legal conclusions as true.4

         Here, Plaintiff has submitted speculative conclusions but has failed to point to “factual

content” regarding what the State Defendants did. Plaintiff’s allegations do not permit the court

to infer more than the mere possibility of misconduct and has not shown that the Plaintiff is

entitled to relief. This is especially so where the State Defendants have asserted a qualified

immunity defense.5 Put simply, “the Federal Rules do not require courts to credit a complaint’s

conclusory statements without reference to its factual context.”6

         Plaintiff claims that the State Defendants “ignore the vast majority of the 166 numbered

allegations contained in the 38 pages of the Plaintiffs 43 page Amended Complaint.”7 But these

conclusory allegations do not state plausible factual content against the State Defendants.

(Docket No. 73). And the State Defendants are entitled to qualified immunity even if the

allegations of the Amended Complaint are taken as true.8

         I.       Claims against Warden Bigelow and Dr. Garden fail as a matter of law.

         Plaintiff generically claims that “Defendant Bigelow was responsible for the hiring and

training of staff, and for the creation and oversight of policies, practices and customs regarding

the mental health treatment of inmates, the disciplinary process, and the use of solitary


3
    Id. (emphasis added).
4
    Burnett v. Mortg. Elec. Registration Sys., Inc., 706 F.3d 1231, 1235 (10th Cir. 2013).
5
    Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009).
6
    Id. at 686.
7
    (Docket No. 80, at page 3 of 34).
8
    (Docket No. 73, at note 7, page 8 of 25).

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confinement at CUCF during the period of time Brock was incarcerated at that facility.”9

Plaintiff also claims “Bigelow was aware that CUCF subjected inmates, including Brock, to

extremely disproportional punishments and repeated use of solitary confinement depriving them

of human dignity, sanity, and inflicted emotional distress, loneliness and failed to treat mentally

ill inmates.”10 These are conclusory allegations that lack any affirmative link.

       And allegedly the “CUCF defendants, including Warden Bigelow oversaw that facility

and knew of his mental health diagnosis and his grievances yet failed to act in any reasonable

way to remedy these issues.”11 As support for this conclusory statement, Plaintiff cites to

paragraphs 43-64 of the Amended Complaint, which is discussing Tucker’s valid sentences to

solitary confinement. These facts were repeated in the State Defendants’ Motion.12 Many of the

facts in the Amended Complaint at paragraphs 43-64 do not address relevant factual content.13

Warden Bigelow’s name is not mentioned once in any of these allegations.

       As to Dr. Garden, Plaintiff claims that “Garden was responsible for the oversight and

control over the policies and procedures for medical and mental health treatment at CUCF.”

(Docket No. 80, at page 9 of 34).14 Similar to Warden Bigelow, Plaintiff claims that Dr. Garden

“was aware that CUCF subjected inmates including [Tucker] to extremely disproportionate of



9
   (Docket No. 89, at page 6 of 34, citing to Docket No. 39, at ¶ 8).
10
    (Docket No. 89, at page 6 of 34).
11
    (Docket No. 89, at page 8 of 34).
12
    (Docket No. 73, at pages 5-7 of 25).
13
    See (Docket No. 39, at ¶¶ 54, 55, 59, 60, 61, 62, 63).
14
    “Although Dr. Garden did not personally participate in Mr. [Tucker]’s care, Mr. [Tucker’s
Estate] contends that Dr. Garden failed to supervise his employees. A necessary component of a
failure-to-supervise claim, however, is an underlying constitutional violation.” Jensen v. Garden,
No. 18-4048, 2018 WL 5099601, at *5 (10th Cir. Oct. 19, 2018).

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punishments and repeated use of solitary confinement, and inflicted emotional distress loneliness

and failed to treat his mentally ill inmates.”15 Paragraph 11 in the Amended Complaint deals

with Officer Cox, not Dr. Garden. Paragraph 9 of the Amended Complaint is one of the few

instances, where Dr. Garden’s name even appears. Nothing in paragraph 9 states a claim.

         Plaintiff cites to a number of treatises and irrelevant recitations in an attempt to tie Dr.

Garden and Warden Bigelow to a national trend of inmate suicides.16 These facts are irrelevant

to the question of whether any State Defendant was deliberately indifferent to a known risk that

Tucker would commit suicide. The Amended Complaint is replete with this type of conclusory

content that the Iqbal court warns against.

         Plaintiff claims that paragraphs 88, 89, 90, 91, 92, 94, 95, and 96 of the Amended

Complaint allege factual content against Dr. Garden.17 These paragraphs are again full of

conclusions, speculation, and labels. Plaintiff generically claim that the State Defendants’ failed

to provide Tucker with medical or psychiatric care.18 But it is alleged in the Amended Complaint

that Tucker was receiving treatment for his mental health issues, which directly contradicts the

claims now made in the Plaintiff’s Opposition that Dr. Garden was not treating “his mentally ill

inmates.”

         In the Amended Complaint, the following allegations are made:

         -    In June 2014, Tucker was seen by Dr. Burnham for medical and mental illnesses and
              was diagnosed with unspecified psychosis and major depressive disorder, along with
              moderate back pain and hepatitis C. (Docket No. 39, at ¶ 53; Docket No. 73, at ¶ 31).

         -    On June 19, 2014, Tucker was prescribed anti-depressant and anxiety medication to

15
     (Docket No. 80, at page 9 of 34, citing to Docket No. 39, at ¶ 11).
16
     (Docket No. 80, at page 12 of 34).
17
     (Docket No. 80, at pages 13-15 of 34, citing to Docket No. 39).
18
     (Docket No. 39, at ¶ 94).
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             treat major depressive disorder. (Docket No. 39, at ¶ 56; Docket No. 73, at ¶ 32).

       -     On July 2, 2014, Dr. Bruce Burnham (who is a UDOC physician) ordered Tucker to
             outpatient mental health treatment. (Docket No. 39, at ¶ 57; Docket No. 73, at ¶ 33).

       -     On July 16, 2014, Tucker was prescribed additional medication to address major
             depressive disorder. (Docket No. 39, at ¶ 58, Docket No. 73, at ¶ 34).

It cannot be disputed that Tucker was being treated. Simply treating an inmate for mental health

issues, as was done here, is not evidence of a “known risk” that suicide is imminent.19 Thus, the

deliberate indifference claim against Warden Bigelow and Dr. Garden is not plausible. But, even

if a plausible allegation is plead, there was no deliberate indifference as a matter of law.

       II.      IDHO Taylor was not deliberately indifferent.

       Taylor sentenced Tucker to punitive isolation for a variety of admitted disciplinary

issues. The State Defendants are not aware of any case that has ever held a hearing officer is a

proper defendant in an Eighth Amendment claim of deliberate indifference to known risk of

suicide. Hearing officers are not medical personnel.

       Plaintiff claims without any legal support that the allegations regarding valid sentences of

solitary confinement somehow constitute deliberate indifference to a known risk of suicide.

Plaintiff cites to no case for support. To the contrary, numerous cases have held that solitary

confinement is an incident of ordinary prison life. There is no dispute that Tucker was validly

sentenced to punitive isolation for behavioral issues. Taylor cannot ignore his conduct. And

Tucker was being treated for any medical or mental health issues, and he was allowed to live in


19
   Plaintiff claims that “In the case at bar however, plaintiff alleges that there had been numerous
evaluations of Tucker, and the risk of suicide and other mental health issues was clearly
identified and obvious.” (Docket No. 80, at page 23 of 34). This conclusory allegation is not
supported by the Tenth Circuit and Supreme Court case law that clearly governs this matter.

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general population if he followed the rules. It is quite common for inmates with mental health

issues to live in both general population and punitive isolation.20 In prison when the rules are not

followed, society and the courts allow corrective action. Thus, the moniker and name the “Utah

Department of Corrections.”21

       Being seen for a mental health concern does not give an inmate a free pass to violate the

rules of prison.22 No case has ever held as such. There is no evidence that any State Defendant,

and specifically IDHO Taylor, ignored a known risk that Tucker would commit suicide. Plaintiff

has not alleged factual content to this end. IDHO Taylor had no knowledge that a sentence of

punitive isolation would constitute a “known risk” that Tucker would commit suicide. There is

no allegation that IDHO Taylor did not consider Tucker’s mental health as he imposed

discipline. The allegations in the Amended Complaint relating to IDHO Taylor and a “known

risk” of suicide are complete speculation and conjecture. No specific factual content is alleged.

       Rather Plaintiff’s Amended Complaint claims: “At the time Brock was held in punitive

isolation, it was widely known, across the nation and around the world, that holding a person in

solitary confinement can be expected to cause, or seriously exacerbate, mental illness, deep


20
   Cf. Estate of Vallina v. Cty. of Teller Sheriff's Office, No. 17-1361, 2018 WL 6331595, at *1
(10th Cir. Dec. 4, 2018) (inmate with known mental health issues, and prior suicide attempts,
cleared for placement in general population at TCDC); with Silverstein v. Fed. Bureau of
Prisons, 559 F. App'x 739, 758 (10th Cir. 2014) (thirty years of solitary confinement were not
the cause of mental symptoms of anxiety, depression, memory loss, and cognitive impairment).
21
   The primary purpose of incarceration is to provide just punishment, adequate deterrence,
protection of the public, and correctional treatment. See 18 U.S.C. § 3553.
22
   In the Silverstein case the Tenth Circuit did not equate thirty years in punitive isolation with
any link or cause to the inmate’s mental health issues. “[W]e cannot conclude his current mental
symptoms of anxiety, depression, memory loss, and cognitive impairment are caused by the
conditions of his current segregated confinement[.]” Silverstein v. Fed. Bureau of Prisons, 559 F.
App'x 739, 758 (10th Cir. 2014).

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depression, crushing loneliness and the risk of suicide.”23 They continue, “CUCF Defendants

knew that, as a result of being placed in isolation, there was a strong likelihood that Brock was in

danger of serious personal harm, including self-harm and suicide.”24 These allegations are

speculation and conjecture. These are Plaintiff’s opinions and are contrary to Tenth Circuit case

law recognizing that administrative segregation (individual cell housing) is often utilized for

inmate safety, and that punitive isolation is constitutional.

        Plaintiff attempts to draw an inference that IDHO Taylor is constitutionally liable

because there is a UDOC Policy that “when disciplinary action is being considered for an

offender in outpatient treatment, the psychiatrist mental health staff shall provide information to

the discipline hearing officer stating whether or not the behavior was due to mental illness.”25

There are contradictory allegations regarding whether this policy was followed. Regardless, even

if the policy was ignored and violated it does not amount to a constitutional violation.26 “The

Supreme Court has held that simply failing to follow jail policies is not a constitutional violation

in and of itself.”27

        Plaintiff also claims that IDHO Taylor had a duty to follow up on whether or not

Tucker’s mental health issues were the cause of his discipline issues.28 But Taylor is not a

medical professional, and the sentences he had invoked prior to the day Tucker committed



23
   (Docket No. 39, at ¶ 66).
24
   (Docket No. 39, at ¶ 90).
25
   (Docket No. 80, at page 17 of 34).
26
   Even if IDHO Taylor “had been aware of Mr. [Tucker]’s injury at that time, a failure to adhere
to a policy or regulation (without more) does not equate to a constitutional violation.” Jensen v.
Garden, 2018 WL 5099601, at *5 (10th Cir. Oct. 19, 2018) (citing cases).
27
   Ernst v. Creek Cty. Pub. Facilities Auth., 697 F. App'x 931, 934 (10th Cir. 2017).
28
   (Docket No. 80, at page 17 of 34).
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suicide may be challenged through an IDHO appeal, or a writ of habeas corpus, which Tucker

apparently never did. The fact that Tucker committed suicide while in punitive isolation does not

mean it was deliberate indifference to sentence him to punitive isolation. There is no case law

that suggests it was or that a hearing officer has any follow-up duties.

       III.    Officer Cox was not deliberately indifferent.

       There are no specific allegations that indicate that Officer Cox deliberately ignored a

known risk of suicide. Undeterred by the overwhelming case law directly on point, Plaintiff

claims that “on the day of Brock’s death defendant Cox should have known, and did not know

that Brock was a significantly increased suicide risk.”29 Again, this speculative conclusion is not

supported by factual content. And case law repeatedly indicates that prison life allows for many

ordinary incidents of prison life, including verbal altercations, covering of cell windows, etc. and

these rather routine actions do not put officers on notice of a known risk of suicide.

       Plaintiff claims that a verbal altercation with Officer Cox was evidence of a “known risk”

that Tucker would commit suicide. But, the Tenth Circuit has been expressly clear that a verbal

exchange with a guard, even if it triggers a “psychotic episode” is not a constitutional violation.30

Plaintiff also claims that Tucker had placed a towel over his window, and that Officer Cox

should have seen this, and apparently drawn the inference that this signaled a “known risk” that

Tucker would commit suicide. Plaintiff claims this was a “clear indication that Brock was going

to harm himself.”31 But there is no indication that Officer Cox noticed the towel, and the Tenth


29
   (Docket No. 80, at page 17 of 34).
30
   Graham v. Van Der Veur, 986 F.2d 1427 (10th Cir. 1992) (“a mere claim of verbal
harassment does not state a violation of any right within the meaning of § 1983.”).
31
   (Docket No. 39, at ¶ 71).

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Circuit has held on similar facts that the failure to recognize a sheet over a window of an inmate

who found hanging dead in her cell was not deliberate indifference.32 There are many reasons

inmates cover their cell windows and doing so is not a clear indication of harm. These arguments

were materially addressed in the State Defendants’ Motion.

         These few specific facts, even when considered in total, do not come close to evidencing

deliberate indifference to a known risk of suicide. These facts are only evidence of ordinary

incidents of prison life. These concepts are repeated throughout the case law cited in the State

Defendants’ Motion and this Reply. As additional support, in Ernst v. Creek Cty. Pub. Facilities

Auth., 697 F. App'x 931, 932 (10th Cir. 2017), “[a] few days after being sentenced to thirty-six

years in prison, Ernst hanged himself in the jail’s bathroom. Ernst had been evaluated for

suicidal thoughts several times while at the jail, but was not on suicide watch when he took his

own life.” This clearly shows that just because an inmate is evaluated for mental health concerns,

they do not have to be on suicide watch or a known risk of suicide.

         In Ernst, his family had contacted the jail and stated that Ernst needed mental health

treatment, another inmate had notified the jail that Ernst appeared suicidal, and the sheriff’s

deputy that transported Ernst back to the jail after his sentencing informed the jail that Ernst

needed to be put on suicide watch “because Ernst had said that he wanted to be run over by the

Deputy’s vehicle.”33 Despite all of this, an LPN at the jail determined that Ernst did not appear

suicidal. Five days later Ernst hanged himself in a shower stall. The Tenth Circuit held “[i]t is

not enough for an official to merely be aware of facts from which the inference could be drawn


32
     Norman v. Randolph, 597 F. App'x 988, 990 (10th Cir. 2015).
33
     Ernst v. Creek Cty. Pub. Facilities Auth., 697 F. App'x 931, 931-32 (10th Cir. 2017),

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that a substantial risk of serious harm exists; rather, the official must also draw the inference.”34

Here, there is no evidence that Officer Cox was aware of the substantial risk of suicide, let alone

any plausible allegation that he drew that inference.

         Another Tenth Circuit prison suicide case has also been decided since the State

Defendants filed their motion. There, the inmate came into the prison on June 5, 2014, as a

known suicide risk and was known to have attempted suicide before. He was cleared for general

population, where he committed suicide.35 “A prison official does not act recklessly or with

deliberate indifference by failing to act to avert the suicide of a detainee who displays no

outward indicators of suicidal ideation[.]”36 There are no allegations that Tucker was displaying

outward indicators of suicidal ideation. There is no case law that indicates that facts as those

alleged here constitute notice of a known risk of suicide. In fact, the cases indicate there was no

clearly established constitutional violation here.

         IV.     There was no violation of the Americans with Disabilities Act (ADA).

         In researching for this Reply, the State Defendants discovered the following holding from

a District of Utah case: “ADA claims do not survive a plaintiff’s death under Utah’s survival

statute.”37 Tucker’s ADA claim does not survive his death. This ends the ADA matter.

         V.      The law is not clearly established.

         “The doctrine of qualified immunity protects government officials from liability for civil

damages insofar as their conduct does not violate clearly established statutory or constitutional


34
     Id. at 933-34.
35
     Estate of Vallina v. Cty. of Teller, 2018 WL 6331595, at *1 (10th Cir. Dec. 4, 2018).
36
     Id. at *3.
37
     Allred v. Solaray, Inc., 971 F. Supp. 1394, 1398 (D. Utah 1997).

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rights of which a reasonable person would have known.”38 Thus, even if the Court feels the State

Defendants’ conduct was arguably unconstitutional, the Court can dismiss the matter if the case

law on point would not have indicated to the State Defendants that the actions they took did not

amount to a clearly established constitutional violation. Here, no State Defendant committed a

clearly established constitutional violation.

         VI.    There was no unnecessary rigor.

         Plaintiff claims “[t]here seems to be no more flagrant violation of a constitutional right

than cruelly implementing solitary confinement to a suicidal and mentally deficient individual

and allowing that individual to be treated in direct contravention of the Defendants own doctor’s

recommendations.”39 But there is no allegation anywhere in the Amended Complaint that a

doctor recommended where to house, or not house, Tucker. This is Plaintiff’s speculative

hypothesis based on national literature. Hypothetical, speculative, and conjectural allegations are

not plausible. There is no factual content that alleges unnecessary rigor.

         For each of these reasons, and the reason argued in the State Defendants’ Motion,

Plaintiff’s First Amended Complaint should be dismissed with prejudice.

         DATED this 11th day of January 2019.

                                OFFICE OF THE UTAH ATTORNEY GENERAL


                                /s/ Meb W. Anderson
                                MEB W. ANDERSON
                                Assistant Utah Attorney General
                                Attorney for the State Defendants



38
     Pearson v. Callahan, 555 U.S. 223, 231 (2009).
39
     (Docket No. 80, at page 30 of 34).
                                                10
